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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 UNITED STATES OF AMERICA and
 STATE OF FLORIDA, ex rel. JOHN
 DOE,

                    Plaintiff,

 v.                                                    Case No. 6:14-cv-501-Orl-37DAB

 HEALTH FIRST, INC.; HEALTH FIRST
 HEALTH PLANS INC.; HEALTH FIRST
 MEDICAL GROUP; MELBOURNE
 INTERNAL MEDICINE ASSOCIATES,
 P.A.; HOLMES REGIONAL MEDICAL
 CENTER; PALM BAY HOSPITAL;
 CAPE CANAVERAL HOSPITAL; VIERA
 HOSPITAL; MELBOURNE SAME DAY
 SURGERY CENTER; and
 MELBOURNE GI CENTER,

                    Defendants.


                                  AMENDED ORDER

       This cause is before the Court on the following matters:

       (1) Defendants’ Joint Motion to Dismiss Amended Complaint and Incorporated

           Memorandum of Law (Doc. 74), filed October 29, 2015;

       (2) Joinder in Motion to Dismiss Amended Complaint (Doc. 76), filed

           November 13, 2015;

       (3) Plaintiffs’ Opposition to Defendants’ Joint Motion to Dismiss Amended

           Complaint (Doc. 79), filed December 9, 2015;

       (4) United States’ Statement of Interest in Response to Defendants’ Joint Motion

           to Dismiss Amended Complaint (Doc. 89), filed December 22, 2015; and

       (5) Defendants’ Notice of Supplemental Authority (Doc. 116), filed July 18, 2016.
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                                     BACKGROUND

       In this qui tam action—which was brought pursuant to the Federal False Claims

 Act (“FCA”), Florida’s False Claims Act (“FFCA”), the Anti-Kickback Statute (“AKS”), and

 the Physician Self-Referral Law (“Stark Act”)—Relator John Doe (“Relator”) 1 seeks to

 recover damages and civil penalties based on allegedly “false and/or fraudulent

 statements, records, and claims made” to the United States of America (“U.S.”) and the

 State of Florida (“State”) during allegedly fraudulent schemes that spanned approximately

 fifteen years—from 1999 through February 2013 (“Relevant Period”). (Doc. 61.) The

 alleged perpetrators of the fraudulent schemes are ten affiliated providers of health care

 services and insurance in Brevard County, Florida (“Defendants”): (1) Health First, Inc.

 (“HFI”); (2) Melbourne Internal Medicine Associates, P.A. (“MIMA”); (3) Health First

 Medical Group (“HFMG”); (4) Holmes Regional Medical Center (“HRMC”); (5) Viera

 Hospital (“VH”); (6) Cape Canaveral Hospital (“CCH”); (7) Palm Bay Hospital (“PBH”) (8)

 Melbourne Same-Day Surgery Center (“MSDS”); (9) Melbourne GI Center (“MGIC”); and

 (10) Health First Health Plans, Inc. (“HFHP”). (See id. ¶¶ 54, 55, 59–62, 72–79, 82, 85–

 87, 99, 118, 143–44, 162.)

       Relator filed his initial Complaint under seal on March 27, 2014. (Doc. S-1.) The

 State declined to intervene and is not a party to this action. (Doc. 11 (citing Fla. Stat.,

 § 68.083(6)(b).) In accordance with 31 U.S.C. § 3730(b)(4)(b), the U.S. also declined to

 intervene. (Doc. 10.) Reserving their rights, the State and the U.S. both requested that:



       1 From 1988 to 2010, Relator was an attending physician at Defendant Holmes
 Regional Medical Center, and from 1996 to the present, Relator was an attending
 physician at Defendant Palm Bay Hospital (“PBH”). (See Doc. 61, ¶ 16; see Doc. 74, pp.
 1–2 n.2.)



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 (1) they be served with all pleadings filed in this action; and (2) before dismissing any

 Defendant from this action, the Court first “solicit” consent from the State and the

 U.S. Attorney General. (See id. (citing 31 U.S.C. § 3730(b)(1)); Doc. 11 (citing Florida

 Statutes, § 68.084(3)); Doc. 12 (approving the State’s request and reservation); see also

 Docs. 85, 89, 96.)

       When the State and the U.S. advised they would not intervene, the Court unsealed

 the initial Complaint and directed Relator to provide Defendants with service of process

 in accordance with Rule 4 of the Federal Rules of Civil Procedure. (Doc. 13.) Defendants

 then moved to dismiss (Doc. 45), but the motion was rendered moot upon the filing of an

 Amended Complaint (Doc. 61.)

       Pursuant to Rules 9(b), 12(b)(1), and 12(b)(6) of the Federal Rules of Civil

 Procedure, Defendants moved to dismiss the Amended Complaint (“Joint Motion”) “with

 prejudice” on the grounds that:

       (1)    the Amended Complaint constitutes a “shotgun” pleading (“Shotgun
              Argument”) (see Doc. 74, pp. 2, 21–22);

       (2)    the FCA claims are not supported by sufficiently detailed factual
              allegations concerning the “‘who,’ ‘what,’ ‘when,’ and ‘where’” of the
              purportedly false claims or the “circumstances which allegedly
              rendered” the claims false (“Particularity Argument”) (see id. at 18–
              45);

       (3)    even if the Amended Complaint provided sufficiently particularized
              factual allegations, the bulk of Relator’s claim are barred by the
              FCA’s six-year statute of limitations (“SOL Argument”) (see id. at 3–
              5, 26–30, 32);

       (4)    based on the FCA’s public disclosure bar (“PDB”), Relator cannot
              state any claims based on Defendants’ alleged conduct that occurred
              after March 22, 2010; and




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       (5)    based on the PDB, the Court lacks jurisdiction to consider claims
              based on Defendants alleged conduct that occurred prior to
              March 23, 2010. (See id. at 6–18.)

 (See also Doc 76.)

       Relator responded to the 45-page Joint Motion with a 45-page opposition

 memorandum (Doc. 79 (“Response”)), and the U.S. filed a 10-page Statement of Interest

 (Doc. 89 (“Statement”)). See 28 U.S.C. § 517. On July 20, 2016, the Court conducted a

 hearing on the Joint Motion and heard argument concerning recent changes to the

 pertinent law (“Hearing”). (Doc. 117.) During the Hearing, the Court: (1) granted the Joint

 Motion; (2) addressed certain questions of law concerning the PDB and SOL Arguments;

 (3) dismissed the Amended Complaint; (4) set a deadline for Relator to file a Second

 Amended Complaint; (5) suspended non-discovery related deadlines; and (6) directed

 the parties to file proposed joint amendments to the Court’s Case Management and

 Scheduling Order (“CMSO”) (see Docs. 51, 78, 95, 114.)

                                     THE STATUTES

       The FCA “is the primary law” on which governments rely “to recover losses caused

 by fraud.” See McNutt ex rel. United States v. Haleyville Med. Supplies, Inc.,

 423 F.3d 1256, 1259 (11th Cir. 2005). Under the FCA, 2 civil liability is imposed on any

 person who: (1) “knowingly presents, or causes to be presented” to the U.S. “a false or

 fraudulent claim for payment or approval” (31 U.S.C. § 3729(a)(1)(A)); or (2) “conspires

 to” present or cause the presentment of such a false or fraudulent claim (see id.


       2  The parties do not dispute that the FFCA is “modeled after” the FCA and is
 generally interpreted and applied consistently with the FCA. (See Doc. 61 ¶ 34; Doc. 74,
 p. 2 n.3.) Accordingly, the Court does not separately address Relator’s FFCA claims—
 Counts V, VI & VII (Doc. 261, ¶¶ 213–28).




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 § 3729(a)(1)(C)). 3 See id. § 3729(b)(2) (defining “claim” as “any request or demand . . .

 for money or property”); see also Corsello v. Lincare, Inc., 428 F.3d 1008, 1012–13

 (11th Cir. 2005); United States ex rel. Clausen v. Lab. Corp. of Am., Inc., 290 F.3d 1301,

 1310–11 (11th Cir. 2002)).

        The Stark Act prohibits: (1) physicians from making a referral “for the furnishing of

 designated health services” (“DHS”) to an entity with which the physician has a “financial

 relationship” (“Interested Entity”)—such as an “ownership or investment interest” or a

 “compensation arrangement”; and (2) Interested Entities from presenting or causing to be

 presented a claim for DHS. 42 U.S.C. §§ 1395nn(a); see United States ex rel. Mastej v.

 Health Mgmt. Assocs., Inc., 591 F. App’x 693, 698 (11th Cir. 2014) (“In its most general

 terms, the Stark statute prohibits doctors from referring Medicare patients to a hospital if

 those doctors have certain specified types of financial relationships with that hospital.”);

 see also United States ex rel. Drakeford v. Tuomey, 792 F.3d 364, 373 (4th Cir. 2015).

 Further, the AKS “prohibits knowingly offering or providing remuneration for the purpose

 of inducing the recipient to purchase a good or service for which payment may be made

 under a federal health care program” and Medicare. See United States ex rel. Osheroff

 v. Humana Inc., 776 F.3d 805, 808 (11th Cir. 2015) (citing 42 U.S.C. §§ 1320a–7b(b) and

 1320a–7a(5)).

        Under an implied certification theory (“Certification Theory”), violations of the

 AKS or the Stark Act may support liability under the FCA. See Urquilla-Diaz v. Kaplan


        3 Persons act knowingly “with respect to information” if they: (1) have “actual
 knowledge of the information (31 U.S.C. § 3729(b)(1)(A)(i)); (2) act “in deliberate
 ignorance of the truth or falsity of the information” (id. § 3729(b)(1)(A)(ii)); or (3) “act in
 reckless disregard of the truth or falsity of the information” (id. § 3729(b)(1)(A)(iii)).




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 Univ., 780 F.3d 1039, 1045 (11th Cir. 2015) (listing four elements for Certification Theory

 liability); McNutt ex rel. United States v. Haleyville Med. Supplies, Inc., 423 F.3d 1256,

 1259 (11th Cir. 2005) (affirming denial of motion to dismiss FCA claims that were founded

 on allegations that the defendant submitted specific claims for reimbursement under

 Medicare with knowledge that such claims were ineligible for reimbursement due to

 defendant’s violation of the AKS). Very recently, the U.S. Supreme Court explained that

 two conditions must exist to impose liability under the Certification Theory: “first, the claim

 does not merely request payment, but also makes specific representations about the

 goods or services provided; and second, the defendant’s failure to disclose

 noncompliance with material statutory, regulatory, or contract requirements makes those

 representations misleading half-truths.” See Universal Health Servs., Inc. v. United

 States, 136 S. Ct. 1989, 2001 (2016) (remanding to lower court to determine if pleading

 provided sufficient facts to state with particularity a plausible FCA claim based on the

 Certification Theory of liability). 4

                                 THE PLEADING STANDARDS

        Rules 8 and 10 of the Federal Rules of Civil Procedure set forth minimum

 requirements for complaints filed in this Court. At a minimum: (1) pleadings must include

 “short and plain” statements of the pleader’s claims set forth in “numbered paragraphs

 each limited as far as practicable to a single set of circumstances”; and (2) pleadings must

 not include mere labels, legal conclusions, or formulaic recitation of the elements of a


        4
        Just last month, the U.S. Supreme Court held that FCA liability can attach when
 a defendant submits a claim for payment that makes specific representations about the
 goods or services provided, but knowingly “fails to disclose the defendant’s
 noncompliance” with a regulatory or statutory requirement that is material to the
 Government’s payment decision.



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 claim. See Fed. R. Civ. P. 8(a), 8(d), 10(b); see also Local Rules 1.05, 1.06. Shotgun

 pleadings result when a party “fails to follow Rules 8 and 10.” See Hickman v. Hickman,

 563 F. App’x 742, 744 (11th Cir. 2014). When confronted with a shotgun complaint, district

 courts must require repleader. See Paylor v. Hartford Fire Ins. Co., 748 F.3d 1117, 1127–

 28 (11th Cir. 2014).

        Pursuant to Rule 12(b) of the Federal Rules of Civil Procedure, Defendants may

 seek dismissal of shotgun pleadings as well as individual claims for: (1) “lack of subject

 matter jurisdiction” (Fed. R. Civ. P. 12(b)(1)); and (2) “failure to state a claim upon which

 relief can be granted” (Fed. R. Civ. P. 12(b)(6)). 5 To avoid dismissal under Rule 12(b)(6),

 a complaint must include factual allegations that “state a claim to relief that is plausible

 on its face.” See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Courts should

 dismiss a claim when, “on the basis of a dispositive issue of law, no construction of the

 factual allegations will support [such] claim.” See Marshall Cnty. Bd. of Educ. v. Marshall

 Cnty. Gas. Dist., 992 F.2d 1171, 1174 (11th Cir. 1993).

        The Eleventh Circuit requires that qui tam relators meet the heightened pleading

 standard of Federal Rule of Civil Procedure 9(b) as to every element of their FCA claims.

 See Corsello, 428 F.3d at 1013 (affirming dismissal of FTC claims due to plaintiff’s failure



        5  In resolving a Rule 12(b)(1) motion to dismiss, courts “must weigh the parties’
 evidence, at least for factual attacks” to the court’s exercise of subject matter jurisdiction.
 See Osheroff, 776 F.3d at 810 n.2. In contrast, when resolving a Rule 12(b)(6) motion to
 dismiss, courts must consider only the complaint, its exhibits, “documents incorporated
 into the complaint by reference,” and matters that are subject to judicial notice. See
 Telltabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). “Courts may take
 judicial notice of publicly filed documents, such as those in state court litigation.” Osheroff,
 886 F.3d at 811 n.4. Courts also may take judicial notice of published materials such as
 newspaper articles, but only for the purpose of determining the content—not the truth—
 of such materials. Id.



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 “to plead fraud with particularity”); see also Jallali v. Sun Healthcare Grp., Sundance

 Rehab. Agency, Inc., No. 15-14231, 2016 WL 3564248, at *1 (11th Cir. July 1, 2016)

 (affirming dismissal of FCA claims).) Rule 9(b) provides: “In alleging fraud or mistake, a

 party must state with particularity the circumstances constituting fraud or mistake. Malice,

 intent, knowledge, and other conditions of a person’s mind may be alleged generally.” To

 meet this standard, relators in qui tam actions “must plead facts as to time, place, and

 substance of the defendant’s alleged fraud.” See Clausen, 290 F.3d at 1310.

        Generally, Courts should dismiss a claim if the sufficiently pled “factual content” of

 the complaint does not allow the court to “draw the reasonable inference that the

 defendant[s] [are] liable for the misconduct alleged” in the claim. See Ashcroft v. Iqbal,

 556 U.S. 662, 678–79 (2009). When an FCA claim is at issue, district courts must

 disregard assertions of law and conclusory statements of fact regarding a defendant's

 alleged fraudulent submissions to the Government. See Clausen, 290 F.3d at 1312.

 Further, district courts should not draw inferences in favor of relators concerning the

 submission of fraudulent claims because doing so would strip “all meaning from Rule

 9(b)’s requirements of specificity.” Corsello, 428 F.3d at 1013 (citing Clausen, 290 F.3d

 at 1312 n.21).

                                       DISCUSSION

        Although the Amended Complaint is a lengthy 234 paragraphs—less than half of

 those paragraphs concern Defendants’ allegedly “illegal and fraudulent practices” (see

 Doc. 61, ¶¶ 54–113, 118–27, 129–37, 143–47, 158, 162–88), while approximately one-

 third of the Amended Complaint is comprised of statements of law and legal conclusions

 concerning the FCA, FCCA, AKS, Stark Act, the Medicare and Medicaid Services




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 (“CMS”), and other government-funded health care programs. 6 (See id. ¶¶ 4, 7–13, 30–

 53, 114, 116, 138–39, 142, 148–57, 159–61, 189–90.) Further, as noted by the Court at

 the Hearing, all seven counts of the Amended Complaint improperly incorporate by

 reference the same 192 paragraphs. See Weiland v. Palm Beach Cnty. Sheriff’s Office,

 792 F.3d 1313, 1320–23 (11th Cir. 2015); Ferrell v. Durbin, 311 F. App’x 253, 259

 (11th Cir. 2009). Further, only a very small fraction of those 192 paragraphs address the

 purportedly actionable claims submitted to the U.S. and the State. (See Doc. 261, ¶¶ 129–

 33, 136–37, 188.) In short, the Amended Complaint does not satisfy the minimum

 pleading requirements for qui tam actions in this Court.

       Given the necessity of pleading FCA claims with particularity, the large number of

 Defendants named in the Amended Complaint, and the expanse of time at issue,

 Relator’s shotgun-style pleading is particularly problematic and must be remedied.

 Accordingly, the Court finds in favor of Defendant concerning the Shotgun Argument and

 the Particularity Argument; however, the Court finds that the Amended Complaint is due

 to be dismissed without prejudice.

       If Relator chooses to file a Second Amended Complaint, he should be mindful of

 his obligations under Federal Rules of Civil Procedure 9(b) and 11, as well as the law

 recently established in Universal Health Servs., Inc. See 136 S. Ct. at 2001. Further, any

 FCA claims asserted by Relator must fall within the six-year statute of limitations that



       6 Relator generally alleges that damages were incurred by the U.S. through the
 Department of Health and Human Services (“HHS”), the Veterans Administration (“VA”),
 and Medicare and Medicaid Services (“CMS”). See 42 U.S.C. § 1395h; 42 C.F.R.
 §§ 421.3, 421.100 (concerning the CMS); 42 U.S.C. §§ 426, 426A (concerning Medicare);
 42 U.S.C. § 1396 (concerning Medicaid); see also 10 U.S.C. §§ 1079(j)(2), (h)(1); 32
 C.F.R. § 199.



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  applies when the U.S. declines to intervene in a qui tam proceeding. See 31 U.S.C. §

  3731(b)(1). Relator also should take care not to assert FCCA claims unless he has fully

  complied with pre-litigation notice requirements. Finally, Relator must take care to include

  sufficient factual allegations to establish that he is an “original source” as required under

  the pertinent version of the FCA. See 31 U.S.C. § 3730(e)(4) (2012); 31 U.S.C. §

  3730(e)(4) (2013); see also Cooper v. Blue Cross Blue Shield of Fla., Inc., 19 F.3d 562,

  565 n. 4 (11th Cir. 1994) (articulating a three-part test for deciding if the PDB in the prior

  version of the FCA applies).

                                          CONCLUSION

         Accordingly, it is hereby ORDERED AND ADJUDGED that:

         (1)    Defendants’ Joint Motion to Dismiss Amended Complaint and Incorporated

                Memorandum of Law (Doc. 74) is GRANTED.

         (2)    Relator’s Amended Complaint (Doc 61) is DISMISSED WITHOUT

                PREJUDICE.

         (3)    On or before August 22, 2016, Relator may file a Second Amended

                Complaint in accordance with the requirements of this Order. If Relator fails

                to timely file a Second Amended Complaint, this action will be closed

                without further notice.

         (4)    If Relator timely files a Second Amended Complaint, then—on or before

                August 31, 2016—the parties shall jointly file a report addressing new

                deadlines for the prompt and efficient resolution of this action.

         (5)    The first iteration of this Order (Doc. 118) is VACATED and superseded by

                this Amended Order.




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  DONE AND ORDERED in Chambers in Orlando, Florida, on July 27, 2016.




  Copies:

  Counsel of Record




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